Case 2:03-cV-02878-.]P|\/|-de Document 42 Filed 05/04/05 Page 1 of 3 Page|D 56

 

 

IN THE UNITED STATES DISTRICT COURT F"`ED a f /?/m
FoR THE wE;l‘l§Sl;§§§S;HII“(;)§ TENNESSEE 05 M 51 -f __L§ M 10: Uh
AMERICAN PIoNEER TITLE
INSURANCE CoMPANY,
Plaintiff,
v. NO. 03-2878 Mlv

VERMA Y. PINKNEY,

BASIL S. BUCHANAN and

GARY L. JEWEL,
Defendants.

GARY L. JEWEL,
Third-party Plaintiff,

v.

AMSOUTH BANK,

Third-party Defendant.

 

AMENDED SCHEDULING ORDER

 

Plaintiff, Defendant and Third Party Defendant, by and through counsel, have jointly agreed
upon the following amended dates:

JOINING PARTIES: August l, 2005

AMENDING PLEADINGS: October 3, 2005

COMPLETION OF DISCOVERY: November 30, 2005

DISCLOSURE OF PLAINTIFF’S EXPERT INFORMATION: Decernber 15, 2005

DISCLOSURE OF DEFENDANT’S EXPERT FORMATION: December 30, 2005

  

Th!s document enters

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w¢m ama 53 and/m 7 a docket

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DISCLOSURE OF THIRD PARTY DEFENDANT’S EXPERT INFORMATION: Ianuary
16, 2006
COMPLETION OF EXPERT DISCOVERY, INCLUDING DEPOSITIONS: I\/laroh 15 , 2006

FILING OF DISPOSITIVE MOTIONS: April 17, 2006

SO ORDERED, this the j day of___a§f ,20.05

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Uni d States District Court Judge

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 42 in
case 2:03-CV-02878 Was distributed by faX, mail, or direct printing on
May 5, 2005 to the parties listed.

 

 

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Honorable .1 on McCalla
US DISTRICT COURT

